       In The Matter Of:
Fayetteville Public Library, et al v.
 Crawford County, Arkansas, et al




   Miel Ann Delorey Partain
        March 15, 2024
 CERTIFIED ORIGINAL/COPY



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Fayetteville Public Library, et al v.         CERTIFIED ORIGINAL/COPY                                 Miel Ann Delorey Partain
Crawford County, Arkansas, et al                                                                               March 15, 2024
                                                       Page 1                                                              Page 3
 1          IN THE UNITED STATES DISTRICT COURT                  1              A P P E A R A N C E S (CONTINUED)
               WESTERN DISTRICT OF ARKANSAS
 2                   FAYETTEVILLE DIVISION                       2   MR. BENJAMIN M. SEEL
                                                                     Attorney at Law
 3 FAYETTEVILLE PUBLIC LIBRARY, a political                      3   Democracy Forward Foundation
   subdivision in the City of Fayetteville,                          P.O. Box 34554
 4 State of Arkansas; EUREKA SPRINGS CARNEGIE                    4   Washington, DC 20043
   PUBLIC LIBRARY; CENTRAL ARKANSAS LIBRARY                          bseel@democracyforward.org
 5 SYSTEM; NATE COULTER; OLIVIA FARRELL;                         5                         (VIA TEAMS)
   HAYDEN KIRBY;MIEL PARTAIN, in her own capacity                    *** For the Arkansas Library Association, Advocates for
 6 and as parent and next friend of MADELINE PARTAIN;            6   All Arkansas Libraries and Adam Webb, in his individual
   LETA CAPLINGER; ADAM WEBB;                                        capacity ***
 7 ARKANSAS LIBRARY ASSOCIATION; ADVOCATES FOR                   7
   ALL ARKANSAS LIBRARIES; PEARL'S BOOKS, LLC;                       MS. REBECCA HUGHES PARKER
 8 WORDSWORTH COMMUNITY BOOKSTORE, LLC, d/b/a                    8   Attorney at Law
   WORDSWORTH BOOKS; AMERICAN BOOKSELLERS ASSOCIATION;               Dentons US, LLP
 9 ASSOCIATION OF AMERICAN PUBLISHERS,INC.; AUTHORS              9   1221 Avenue of the Americas
   GUILD, INC.; COMIC BOOK LEGAL DEFENSE FUND                        New York, NY 10020
10 and FREEDOM TO READ FOUNDATION,                 PLAINTIFFS   10   rebeccahughes.parker@dentons.com
                                                                                           (VIA TEAMS)
11 vs.                                  NO. 5:23-CV-05086-TLB   11   *** For the Plaintiffs, Pearl's Books, LLC; Wordsworth
                                                                     Community Bookstore, LLC; American Booksellers
12 CRAWFORD COUNTY, ARKANSAS; CHRIS KEITH, in his               12   Association; Association of American Publishers, Inc.;
   official capacity as Crawford County Judge;                       Authors Guild, Inc; Comic Book Legal Defense Fund; and
13 TODD MURRAY; SONIA FONTICIELLA; DEVON HOLDER;                13   Freedom to Read Foundation ***
   MATT DURRETT; JEFF PHILLIPS; WILL JONES; TERESA
14 HOWELL; BEN HALE; CONNIE MITCHELL; DAN TURNER;               14   MR. PHILIP A. ELMORE
   JANA BRADFORD; FRANK SPAIN; TIM BLAIR; KYLE HUNTER;               Attorney at Law
15 DANIEL SHUE; JEFF ROGERS; DAVID ETHREDGE; TOM TATUM,         15   Quattlebaum, Grooms & Tull, PLLC
   II; DREW SMITH; REBECCA REED MCCOY; MICHELLE C.                   4100 Corporate Center Drive, Suite 310
16 LAWRENCE; DEBRA BUSCHMAN; TONY ROGERS; NATHAN SMITH;         16   Springdale, Arkansas 72762
   CAROL CREWS; KEVIN HOLMES; CHRIS WALTON; and CHUCK                pelmore@qgtlaw.com
17 GRAHAM, each and in his or her official capacity as a        17                        (VIA TEAMS)
   prosecuting attorney for the State of Arkansas, DEFENDANTS        *** For the Plaintiff, Fayetteville Public Library ***
18                                                              18
19                                                              19
                       ORAL DEPOSITION
20                                                              20
                               OF
21                                                              21
                   MIEL ANN DELOREY PARTAIN
22                                                              22
23 ***** THE ABOVE-STYLED MATTER was reported by Michelle R.    23
   Satterfield, CCR, LS Certificate No. 570, at the Wahlmeier
24 Law Firm, located at 1101 Walnut, Van Buren, Arkansas,       24
   commencing on the 15th day of March 2023, at 10:16 a.m.
25 *****                                                        25

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 1                 A P P E A R A N C E S                         1                            I N D E X
 2 MR. SAMUEL S. MCLELLAND                                       2        TOPIC                                             PAGE
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 3 PPGMR Law, PLLC                                               3   APPEARANCES                                              2-3
   201 East Markham Street, Suite 201
 4 Little Rock, Arkansas 72201                                   4   STIPULATIONS                                               5
   sam@ppgmrlaw.com
 5                                                               5   WITNESS SWORN:    Miel Ann Delorey Partain                 6
   *** For Crawford County, Arkansas, and County Judge
 6     Chris Keith, in his official capacity ***                 6              Examination by Mr. McLelland                    6
 7 MR. NOAH WATSON                                               7              Examination by Mr. Watson                      46
   MS. CHRISTINE A. CRYER
 8 Senior Assistant Attorneys General                            8              Examination by Ms. Brownstein                  52
   323 Center Street, Suite 200
 9 Little Rock, Arkansas 72201                                   9              Examination by Mr. Adams                       56
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10 Christine.cryer@ArkansasAG.gov                               10              Further Examination by Mr. McLelland      57, 69
11 *** For the State of Arkansas Prosecuting Attorneys ***      11              Further Examination by Mr. Watson              65
12 MS. BETTINA E. BROWNSTEIN                                    12              Further Examination by Mr. Adams               68
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15                                                              15   NUMBER                  DESCRIPTION                    PAGE
   *** For the Plaintiffs, Olivia Farrell, Jennie Kirby,
16 Hayden Kirby and Leta Caplinger ***                          16   Deft's 1     Copy of Amended Complaint-Document 75        10
   *** On Behalf of the Arkansas Civil                                        (COPY OF EXHIBIT SCANNED INTO ETRANSCRIPT)
17     Liberties Union Foundation, Inc. ***                     17
18 MR. JOHN T. ADAMS                                            18                            * * * * *
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21                                                              21
   *** For The Plaintiffs, Central Arkansas Library System,
22 Nate Coulter and the Eureka Springs Carnegie Public          22
   Library ***
23                                                              23
                  (CONTINUED ON NEXT PAGE)
24                                                              24
25                                                              25


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 1              ANSWERS AND DEPOSITION OF MIEL ANN DELOREY
                                                                   1    If you need me to repeat a question, please let me
 2   PARTAIN, witness produced at the request of the
                                                                   2 know. If you need me to rephrase a question, please let
 3   DEFENDANTS, was taken in the above-styled and numbered
                                                                   3 me know.
 4   cause on the 15th day of March 2023, before Michelle R.
                                                                   4    Is there anything preventing -- and you understand
 5   Satterfield, CCR, a Notary Public in and for Faulkner
                                                                   5 that you're under oath. Is there anything that would
 6   County, Arkansas, at the offices of the Wahlmeier Law
                                                                   6 prevent you from telling the truth today?
 7   Firm, P.A., located at 1101 Walnut, Van Buren, Arkansas,
                                                                   7 A No.
 8   at 10:16 a.m., pursuant to the agreement hereinafter set
                                                                   8 Q Okay. What do you do for a living?
 9   forth.                                                        9 A I work for the Girl Scouts Council; Girl Scouts
10                                                                10 Diamonds of Arkansas, Oklahoma and Texas.
11                                                                11 Q Okay. And so I think Girl Scouts cookie season just
12                                                                12 ended; is that right?
                     S T I P U L A T I O N S
13                                                                13 A We're in the middle of it.
               IT IS STIPULATED AND AGREED by and between the
14                                                                14 Q Okay. Well, good. Noble work; I will say that's
     parties through their respective counsel that the
15                                                                15 noble work.
     deposition of Miel Ann Delorey Partain may be taken at the
16                                                                16           MS. BROWNSTEIN: That's exactly what we
     time and place designated pursuant to the Federal Rules of
17                                                                17        said.
     Civil Procedure.
18                                                                18 BY MR. MCLELLAND:
                             * * * * *
19                                                                19 Q How long you been doing that?
20                                                                20 A Two years.
21                                                                21 Q And what did you do before that?
22                                                                22 A I was a paralegal.
23                                                                23           MS. BROWNSTEIN: Oh, okay.
24                                                                24 BY MR. MCLELLAND:
25                                                                25 Q For a law firm?


                                                         Page 6                                                           Page 8

 1          MIEL ANN DELOREY PARTAIN,                              1 A Yes.
 2 the witness hereinbefore named, having been previously          2 Q Okay. Here or in Oklahoma?
 3 cautioned and sworn, or affirmed, to tell the truth, the        3 A Here.
 4 whole truth, and nothing but the truth, testified as            4 Q Okay. What law firm?
 5 follows:                                                        5 A Hopkins & Holmes.
 6              EXAMINATION                                        6 Q And how long were you a paralegal?
 7 BY MR. MCLELLAND:                                               7 A Two years there. I'm sorry, not two years, one year
 8 Q Good morning, Ms. Partain. Can you state your name            8 there.
 9 for the record, please?                                         9 Q Okay. And then at another firm before that?
10 A Miel Ann Delorey Partain.                                    10 A In Fort Smith, yes.
11 Q All right. Have you ever given a deposition before?          11 Q And regardless of the firm, how long were you a
12 A Yes.                                                         12 paralegal?
13 Q When did you give a deposition?                              13 A In law firms?
14 A I don't recall the year it was.                              14 Q Yes.
15 Q What was the case about?                                     15 A About three years and I worked for the circuit
16 A It was a car accident that I was involved in.                16 clerk's office before that.
17 Q Gotcha. So you understand that you're under oath,            17 Q Okay. Are you from Crawford County?
18 just like you would be in a court of law?                      18 A Not originally.
19 A Uh-huh.                                                      19 Q Where are you from originally?
20 Q Is that a yes?                                               20 A I was a born in Iowa.
21 A Yes.                                                         21 Q And what brought you to Arkansas?
22 Q And you brought me to my next point. I'm going to            22 A A relationship.
23 do -- Ms. Michelle here is taking down everything we say,      23 Q You will not be alone in that in this case.
24 so I'll be good not to talk over you. I'll ask you to do       24           MS. BROWNSTEIN: There's a lot of
25 the same favor.                                                25        migration.


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 1           MR. MCLELLAND: A lot of migration due to             1 A Anywhere.
 2        relationships, so you're not alone in that.             2 Q Anywhere within the State of Arkansas?
 3 BY MR. MCLELLAND:                                              3 A Correct.
 4 Q And how long have you lived in Crawford County?              4 Q Okay. Do you know if Crawford County has ever
 5 A Since 1998. Or Crawford County?                              5 implemented Act 372?
 6 Q Yes.                                                         6 A I believe they briefly tried to do -- take the steps
 7 A Since 2008.                                                  7 that they thought were complying with the Act.
 8 Q And in Arkansas since 1998?                                  8 Q But they didn't enforce it?
 9 A Yes.                                                         9 A Briefly they did; that's my understanding.
10 Q Where did you live before Crawford County?                  10 Q That's your understanding. And I think you said that
11 A Barling, Sebastian County.                                  11 they tried to take steps; is that right, to enforce it?
12 Q Okay. And you were in attendance this morning in            12 A I believe that they were taking the steps that Act
13 your daughter's deposition; is that correct?                  13 372 would have required of them.
14 A Correct.                                                    14 Q Okay. And what were those steps?
15 Q And you've brought claims both on behalf of yourself        15 A Taking the materials that were deemed harmful to
16 and on behalf of her; is that right?                          16 children and putting them kind of in an area that was
17 A Yes.                                                        17 inaccessible to minors.
18 Q During today's deposition there may be points in time       18 Q All right. So steps that Crawford County took in
19 where I will ask you to speak on your daughter's behalf,      19 implementing Act 372, was that they took materials that
20 and if you are able to, I'll ask you to since you are         20 they deemed inappropriate for children and moved it to an
21 bringing claims on her behalf. Is that okay?                  21 area that was inaccessible to minors; is that right? And
22 A Okay.                                                       22 if I mischaracterize, please correct me.
23 Q If you don't know the answer or if it's something           23 A That's my understanding.
24 that I need to discuss with her, that's fine, and you can     24 Q That's okay. I'm not trying -- the only thing I want
25 refer me to her, but if you know the answer, I would          25 to know about, is what you know and I'm not trying to play


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 1 respectfully ask that you respond, since you are bringing      1 gotcha. I just want to understand what you know and your
 2 claims on her behalf. And I'll try to delineate those          2 testimony is today.
 3 moments if they come up today.                                 3     So based upon your understanding, what -- what was
 4 A Okay.                                                        4 the area that was -- was the area that is inaccessible to
 5 Q I'll start where we always start. I'll mark this as          5 minors, does that have a name?
 6 Defendant's 1. This is the Amend Complaint, as                 6 A I do not know if it had a different -- I know what
 7 Ms. Brownstein corrected me earlier.                           7 they call that collection of books at this point.
 8   (Defendant's 1 was marked & attached hereto.)                8 Q What do they call it?
 9    Ms. Partain, do you have any other children?                9 A The Social Section.
10 A Yes.                                                        10 Q Okay.
11 Q And how old are they?                                       11 A I don't know if it had a different name when they
12 A Thirty, twenty-nine, twenty-eight and twenty-three.         12 were kind of under lock and key, so to speak.
13 Q And then your youngest daughter is seventeen?               13 Q What do you mean by under lock and key?
14 A Uh-huh.                                                     14 A Like inaccessible to minors, being -- and I don't
15           MS. BROWNSTEIN: You have to answer out              15 know -- I don't have a huge understanding of what they did
16       loud.                                                   16 briefly.
17 A Yes.                                                        17 Q Okay. And so if I was to say that -- well, I'll
18 Q Your four other children, do they live in Crawford          18 rephrase it another way. So when did you first become
19 County?                                                       19 aware of the Social Section?
20 A None of them live in Crawford County any longer.            20 A Around December of 2022, the same time that my
21 Q Okay. What's your understanding of the lawsuit that         21 daughter did.
22 you've brought?                                               22 Q Okay. And were you aware that she sent an email to
23 A To stop Act 372 from going into effect.                     23 then County Judge Gilstrap?
24 Q Okay. And are you specifically seeking that Crawford        24 A No.
25 County not enforce Act 372?                                   25 Q Okay. Did you ever send any email to County Judge


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 1 Gilstrap?                                                     1 18-year-olds, or 11 and younger?
 2 A I did not.                                                  2 A Any of them.
 3 Q Did you send any -- did you send any communication,         3 Q Okay. So anybody under the age of 18?
 4 meaning email, text, phone call, in-person communication,     4 A Yes.
 5 to then County Judge Gilstrap?                                5 Q Okay. Have you ever spoken to Tammi Hamby?
 6 A I did not.                                                  6 A No.
 7 Q Okay. Did you send any communication to the Library         7 Q Have you ever spoken to Rebecka Virden?
 8 Board about the Social Section?                               8 A No.
 9 A I did not.                                                  9 Q Have you ever spoken to Nina Prater?
10 Q Did you send any communication to then Library             10 A Yes.
11 Director Deidre Grzymala about the Social Section?           11 Q Okay. When you spoke with Ms. Prater, did you
12 A I did not.                                                 12 discuss the Social Section?
13 Q Okay. And I'm just trying to, again, figure out what       13 A No.
14 did and didn't happen. So you first become aware in          14 Q Did you discuss her lawsuit that she's involved in?
15 December of 2022. How did you become aware?                  15 A No, I haven't spoken to her in years. We spoke on
16 A I believe social media and just talking to friends,        16 different terms.
17 that this was starting to happen in Crawford County.         17 Q I understand; that helps me out.
18 Q And what did you think about it?                           18    Have you ever spoken Samantha Rowlett?
19 A I thought it was terrible.                                 19 A No.
20 Q Why did you think it was terrible?                         20 Q Okay. Are you aware that Rebecka Virden, Nina Prater
21 A Because I believe children -- older children should        21 and Samantha Rowlett are involved in a lawsuit dealing
22 have access to any book that they would like to borrow       22 with the Social Section?
23 from the library, and that it's not up to the library or     23 A Yes.
24 the government or the library staff or the library board     24 Q Okay. What's your understanding of that lawsuit?
25 or another citizen to decide what the youth of the           25 A I don't have a great understanding of that lawsuit.


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 1 community can or cannot borrow from the library or look at    1 Q Okay, that's fine. Have you spoken to your fellow
 2 in the library.                                               2 Co-Plaintiff, Leta Caplinger?
 3 Q All right. So you used -- in your statement right           3 A No.
 4 then you used two different kind of terms of, and, again,     4 Q Do you know Leta Caplinger?
 5 I'm just trying to understand what you mean. You said         5 A I know of her.
 6 older children should be able to checkout material from       6 Q Okay. Have you ever attended a library board meeting
 7 the library. What is your definition of older children?       7 here in Crawford County?
 8 A Sixth grade and up.                                         8 A I've watched bits and pieces. I've watched
 9 Q Do you have a -- what's that, like 12 or so?                9 streaming, and then I've watched again after the fact when
10 A Twelve-ish.                                                10 people have posted pieces of it on social media.
11 Q So between 12 and 18?                                      11 Q Do you know whose social media account those clips
12 A Uh-huh.                                                    12 are posted from?
13 Q And what about -- so you believe that older children,      13 A No.
14 those 12 through 18 as you've defined, should be able to     14 Q Okay. So when you watched the recordings afterwards,
15 checkout books from the library without the government       15 are you watching the entire recording, or are you just
16 interfering.                                                 16 watching clips on social media?
17    Do you have any opinion as to children younger than       17 A It depended on the meeting. I did watch some of the
18 12?                                                          18 meetings in real time, on like streaming, but then I also
19 A I believe it's up to the children and their parents,       19 watched clips after the fact.
20 their caregivers.                                            20 Q Gotcha. And do you know which particular meetings
21 Q Okay. And I think I know the answer to this, but           21 you watched?
22 just to make a clean record, you also said, towards the      22 A No.
23 end of that testimony, that the government shouldn't         23 Q Okay. Did you know that your -- are you aware that
24 interfere with what the youth read.                          24 your daughter attended the January 10th Library Board
25    When you say youth, are you referring to 12 to            25 Meeting here in Crawford County?


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 1 A Yes.                                                        1 A Right.
 2 Q Were you aware of that before today?                        2 Q Sorry, I'm not trying to nitpick. I'm just trying to
 3 A Yes.                                                        3 make a clean record.
 4 Q Okay. Did you encourage her to go to that meeting?          4    So when did you first physically see the Social
 5    I'll rephrase; let me rephrase. Did she ask your           5 Section?
 6 permission to go to that meeting or did she have to ask       6 A Earlier this week.
 7 your permission?                                              7 Q And, actually, let me clarify. When I say physically
 8 A She didn't have to ask. She did tell me she was             8 saw the Social Section, I'm referring to the Social
 9 going.                                                        9 Section at the Van Buren Branch. Is that the Social
10 Q Okay. And you didn't go with her?                          10 Section you saw this week?
11 A No.                                                        11 A Correct.
12 Q Was there a reason you didn't go with her?                 12 Q Have you seen any of the other Social Sections?
13 A It was packed. I wanted to go, but by the time I got       13 A No, I don't go to any of the other.
14 there people were saying they're not letting any more        14 Q Library branches?
15 people in the room. They were overflowing out of the         15 A Right, correct.
16 space.                                                       16 Q Are you aware that Crawford County has five?
17 Q I will agree with you, it was full.                        17 A I was -- well, I do know that they have five
18    Did you try to go to any other library board meetings     18 branches.
19 in person?                                                   19 Q Okay. And do you know if all five have a Social
20 A No.                                                        20 Section?
21 Q Do you know who created the Social Section?                21 A I do not know that.
22 A No.                                                        22 Q Okay. So you saw the Social Section in the Van Buren
23 Q Okay. Do you know who physically moved the books           23 Branch for the first time this week. What prompted you to
24 into the Social Section?                                     24 go take a look at the Social Section?
25 A I would imagine the library staff, but, no, I don't        25 A I wanted to be familiar with it and see where it was


                                                      Page 18                                                          Page 20

 1 have firsthand knowledge.                                     1 and my daughter wanted me to go with her.
 2 Q I understand. Do you know who gave -- I'm trying to         2 Q And do you remember, in attending your daughter's
 3 think how to phrase this. There's been some testimony in      3 deposition earlier, she talked about asking the librarians
 4 this case, and some record evidence kind of in both cases,    4 about minors checking out books from the Social Section?
 5 about how Deidre Grzymala, the former Library Director        5 A Yes.
 6 kind of created the Social Section.                           6 Q Do you remember her talking about that?
 7    Are you aware who Deidre Grzymala is?                      7 A Yes.
 8 A No, I just know the name.                                   8 Q Did you speak to any of the librarians when you went
 9 Q Okay. Have you read any articles about her on social        9 to look at the Social Section?
10 media?                                                       10 A No.
11 A No.                                                        11 Q Did you speak to anyone, besides your daughter, when
12 Q Okay. You don't know how the books that are in the         12 you went to the Van Buren Branch?
13 Social Section were determined to be put in the Social       13 A I spoke to them, but not about the Social Section.
14 Section?                                                     14 Q Okay. What did you speak to them about?
15 A I do not know.                                             15 A My account.
16 Q Okay. Do you know what type of books are in the            16 Q Okay. Your library account. Is that what you're
17 Social Section?                                              17 referring to?
18 A I don't have a complete knowledge of every type of         18 A Correct, yes.
19 book, but I have seen the Social Section and it's very       19 Q How long have you had your library card for the
20 largely LGBTQ-themed books.                                  20 Crawford County Library System?
21 Q Are there other types of books besides LGBTQ themed?       21 A I think just about as long as we've lived here.
22 A I can't say definitively whether there are or not. I       22 Q Oh, okay. And I'm not trying to hold you to an exact
23 didn't see any personally, but I also didn't pick up every   23 date. I just --
24 single ...                                                   24 A It's one of the first things we do when we move
25 Q Every single book?                                         25 somewhere, is get a library card.


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 1 Q I understand.                                               1 Director Deidre Grzymala and her employees were, quote,
 2     And when you got your library card when you moved         2 'normalizing and equating homosexual and transsexual
 3 here -- and when you moved here, how old was your             3 lifestyles with heterosexual lifestyles, with heterosexual
 4 daughter?                                                     4 family units' and sought greater participation in material
 5 A One and a half.                                             5 selection."
 6 Q Okay. And at what age did she get her library card;         6     Did I read that correctly?
 7 do you know?                                                  7 A Yes.
 8 A I don't remember.                                           8 Q Have you seen this November 10th letter that Jeff and
 9 Q Okay. Did she get it when she was a minor?                  9 Tammi Hamby sent?
10 A Yes.                                                       10 A Yes.
11 Q When she went to get it when she was a minor, did you      11 Q And how did you see it?
12 have to give parental consent to her getting a library       12 A Social media.
13 card?                                                        13 Q Okay. Who posted it?
14 A I believe so.                                              14 A I do not know.
15 Q Okay.                                                      15 Q Do you remember when you saw it on social media?
16 A And it's connected to my card.                             16 A Around December of '22.
17 Q Gotcha. How often do you go to the Van Buren Branch        17 Q Okay. Did the post that showed the letter have any
18 of the Crawford County Library System?                       18 type of comments below it?
19 A Not very often.                                            19 A I'm certain that it did.
20 Q In the past year, so let's just say 2023, how often,       20 Q Did you read any of them?
21 on average, did you go, total?                               21 A I'm certain that I did.
22 A Five times total.                                          22 Q Do you recall any of them?
23 Q Okay. And when you go, do you checkout material, do        23 A I do not.
24 you go play some of the puzzles, read the newspaper? What    24 Q Did the posts have any type of -- kind of caption,
25 do you do when you go?                                       25 like it said something below the letter; do you recall,


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 1 A We usually go look at material. We've used their            1 like maybe explaining what this was or giving their
 2 meeting room for Girl Scout activities. I've brought my       2 opinion about what they were posting?
 3 troop there to speak to the librarians. Not in 2023,          3 A I'm sure it was somebody giving their opinion.
 4 though.                                                       4 Q Got it. And you don't recall what it said?
 5 Q When's the last time that you checked out material          5 A I don't recall.
 6 from the Crawford County Library System?                      6 Q Okay. When you read it -- so some time in December
 7 A Two days ago.                                               7 of 2022, you think you saw the letter posted on social
 8 Q And before that?                                            8 media and you read it. What did you think about it?
 9 A Probably 2020.                                              9 A I was disgusted by it.
10 Q And when you checked out material two days ago, did        10 Q Okay. Why; what about it was disgusting to you?
11 you use the automated self-checkout or did you checkout      11 A A few things. Number one, I have people close to me,
12 with somebody behind the circulation desk?                   12 whom I love dearly and who are in the LGBTQ community, and
13 A Somebody behind the circulation desk.                      13 they were making them sound like an abnormal section of
14 Q And were any of those materials you checked out from       14 our society and, number two, I don't think it's anybody's
15 the Social Section?                                          15 business except the parent, the caregiver of a child, what
16 A No.                                                        16 books their children are exposed to.
17 Q Okay. If you want to flip over to Page 25 and we can       17 Q Okay. Then on to the next paragraph in Paragraph 81.
18 look at Paragraph 81, and I guess to save time, if you       18 It says that in December of 2022 County Judge Chris Keith
19 want to go ahead and look at Paragraphs 80 through 85 and    19 appointed Tammi Hamby to the Library Board of Directors.
20 read those and let me know when you're done.                 20 Do you know anybody else on the Library Board besides
21 A Okay.                                                      21 Tammi Hamby?
22 Q Okay. If you'll flip over to Page 25 and down to           22 A No.
23 Paragraph No. 80 at the bottom. Do you see where it says     23 Q Okay. Do you know -- and then on the next line it
24 "In a November 10, 2022 letter, Crawford County residents,   24 says, "On January 10, CCL staff announced that all
25 Jeffrey and Tammi Hamby, alleged that the then-CCL           25 branches of the CCL had, quote, 'moved their LGBTQ


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 1 children's books out of the children's section into a new     1 A Yes.
 2 area within their respective adult sections.'                 2 Q So earlier you and I were talking about -- or you
 3     Is this sentence referring to the Social Section?         3 stated that Crawford County had taken steps to implement
 4 A I believe so.                                               4 Act 372. Do you remember saying that?
 5 Q Okay. You've only ever seen the Social Section at           5 A I believe they did.
 6 the Van Buren Branch, right?                                  6 Q And is it your understanding that the creation of the
 7 A Correct.                                                    7 Social Section was a step in the direction of implementing
 8 Q And is that Social Section in Van Buren restricted to       8 Act 372?
 9 only -- is it restricted in a way in which only those 18      9 A I don't know. I believe so.
10 years or older can go into it?                               10 Q Yeah, and I'm just asking what you believe or what
11 A No.                                                        11 your understanding is. I'm not trying to --
12 Q Okay. So the Social Section is in the Adult Section        12 A Again, I don't know.
13 of the library; is that right?                               13 Q Okay.
14 A Correct.                                                   14 A I don't know.
15 Q But it's not adults only?                                  15 Q Okay. And then on Paragraph 85, it says: "On
16 A Correct.                                                   16 information and belief, Crawford County intends to adopt a
17 Q Okay. And then in Paragraph 82, it says that there         17 policy that materials containing LGBTQ themes or
18 are approximately 263 books that have been placed in the     18 discussing other, quote,'social issues' might harm the
19 Social Section of the Crawford County Library Branch.        19 innocence of children and that on that basis any such
20     Are you aware of whether or not there are                20 materials must be segregated based on the viewpoint
21 approximately 263 books in the Social Sections across the    21 contained therein once Act 372 goes into effect. "
22 five branches?                                               22     Do you have any information or belief that you can
23 A I do not know.                                             23 share with me that Crawford County would adopt a policy
24 Q Okay. And then it says that the books there in the         24 that materials containing LGBTQ themes would be
25 Social Section contains books such as Who Believes What?     25 sequestered pursuant to Act 372?


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 1 Exploring the World's Major Religions and All About           1 A I do think they would.
 2 Anxiety.                                                      2 Q Okay. And why do you think that?
 3     Have you ever read either of those two books?             3 A Because they've already done it by creating the
 4 A No.                                                         4 Social Section.
 5 Q Has your daughter ever read either of those two             5 Q Okay. So if we were going to make a list of
 6 books?                                                        6 information and beliefs that you have that show that
 7 A Not to my knowledge.                                        7 Crawford County would implement Act 372, in your opinion
 8 Q Okay. And I don't know if I asked this, I can't             8 one of them would be that the Social Section is one of the
 9 remember, have you ever checked out a book from the Social    9 pieces of evidence; is that right?
10 Section?                                                     10 A Yeah.
11 A No.                                                        11 Q Is there anything else that you have that -- as far
12 Q But you've gone to the Social Section?                     12 as evidentiary that you would -- on your list that you
13 A Correct.                                                   13 would put that would show Crawford County would segregate
14 Q Okay. Skip to Paragraph 84. It says that the letter        14 LGBTQ material?
15 from Crawford County also signaled that more changes are     15 A They appointed a woman who wrote the letter to the
16 coming to the Crawford County Library System. It             16 Library Board.
17 previewed, through its lawyers, that, quote, "Act 372 will   17 Q Okay. So the woman that you're referring to is Tammi
18 make it necessary to continue modifying and changing the     18 Hamby?
19 library system's policies and procedures."                   19 A Tammi Hamby.
20     And the County Attorney wrote to the Crawford County     20 Q Okay. Is there anything else?
21 Library System that among its, quote, "obligations to come   21 A Just that they already have.
22 into compliance with the new laws by August 1st, 2023,"      22 Q Right, through the Social Section. And, again, I'm
23 is, quote, "creating a section that is not accessible to     23 not trying to play gotcha or be difficult. I'm just
24 those under eighteen, end quote."                            24 trying to understand what --
25     Did I read that right?                                   25           MS. BROWNSTEIN: Yes, he is.


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 1 BY MR. MCLELLAND:                                             1 Q Do you have a concern that they would?
 2 Q I'm just trying to understand the list of your              2            MS. BROWNSTEIN: I'm going to object to the
 3 information and belief that you would have.                   3        question. It's so convoluted I'm not quite sure
 4           MR. MCLELLAND: Go ahead.                            4        what you're asking her.
 5           MS. BROWNSTEIN: I'm not objecting. I'm              5 BY MR. MCLELLAND:
 6        just saying, yes, he is.                               6 Q Okay. You believe that Crawford County would
 7           Just listen. He's very disarming. Listen            7 segregate LGBTQ material based upon the Social Section and
 8        to what he says.                                       8 Tammi Hamby being on the Board; is that right?
 9 BY MR. MCLELLAND:                                             9 A Yes, I do.
10 Q So the Social Section, appointing Tammi to the             10 Q And are those the only reasons why you believe that?
11 Crawford County Library Board. Anything else that you can    11 A That I?
12 think of that would substantiate that Crawford County        12 Q Believe that Crawford County would adopt a policy to
13 would intend to adopt a policy to segregate LGBTQ            13 segregate LGBTQ materials?
14 material?                                                    14 A Other than my personal feelings of the community that
15 A No.                                                        15 I live in.
16 Q Okay. Why do you think that appointing Tammi Hamby         16 Q I want to know about that. That's why I asked it
17 to the Board would indicate that Crawford County would       17 that way. In my previous question I removed the Social
18 segregate LGBTQ materials?                                   18 Section, I removed Tammi Hamby, I removed all of the
19 A Because they already knew how she felt about it            19 concerns. Now, I wanted to know if you still had those
20 before they appointed her to the board.                      20 concerns about the books being sequestered. So if there's
21 Q Okay. And is your understanding of, quote, "how she        21 personal beliefs of concern, then I want to know about
22 felt about it" based upon your reading of her letter?        22 those.
23 A Correct.                                                   23 A I can only guess. I mean, I can't speak to what
24 Q Okay. Have you ever spoken to her about her beliefs        24 others would do. I just feel like there's a really high
25 on this topic?                                               25 probability right now because of everything that has taken


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 1 A No.                                                         1 place.
 2 Q Have you ever spoken to anyone about -- have you ever       2 Q Okay. And when you say high probability based upon
 3 spoken to anyone else about Tammi Hamby's beliefs on the      3 everything that's taken place, what do you mean?
 4 topic --                                                      4 A The letter, the meetings, the fact that there is a
 5 A Other than getting -- other than getting, you know,         5 Social Section at all.
 6 summaries of how the meetings went, which kind of lend        6 Q Okay. So in Paragraph 85 it talks about that
 7 themselves to Tammi Hamby's beliefs.                          7 Crawford County intends to adopt a policy that will
 8 Q In her role as Library Board Member and as Chair, and       8 segregate LGBTQ-themed material based upon that viewpoint.
 9 correct me if I'm wrong, I just want to make sure I           9 Do you believe that Crawford County should segregate
10 understand, her statements at those meetings and summaries   10 materials based upon the LGBTQ viewpoints?
11 given to you by others are how you formed your opinion       11 A No, I do not.
12 about her beliefs on the --                                  12 Q And why do you believe that?
13 A And her letter.                                            13 A Because I don't think it's up to the government or
14 Q And her letter are how you formed your beliefs about       14 the library board or other citizens to decide what a child
15 her beliefs?                                                 15 has access to.
16 A Correct.                                                   16 Q Okay.
17 Q Okay. If Tammi Hamby was not on the Board of the           17 A Or anyone.
18 Crawford County Library System, and Tammi Hamby had not      18 Q Do you know if people can request for books to be
19 wrote the letter, and Jeff Hamby hadn't wrote a letter and   19 moved into the Social Section?
20 Deidre Grzymala had not moved books into the Social          20 A Currently?
21 Section and the Social Section not been created, would you   21 Q Yes.
22 still have the same concern that Crawford County would       22 A I do not know.
23 adopt a policy to segregate LGBTQ material based upon Act    23 Q Do you know if people can request for material to be
24 372?                                                         24 moved out of the Social Section?
25 A Would or could?                                            25 A I do not know.


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 1 Q Okay. If somebody in the community -- let's just            1 A Yes.
 2 assume Tammi Hamby -- or let's just say Jeff Hamby wanted     2 Q Does the Complaint, in any way, ask for the Social
 3 to request a book to be placed into the Social Section.       3 Section to be -- does the Complaint, in any way, ask for
 4 Do you know the procedure by which he would do that?          4 the books housed in the Social Section to be moved back to
 5 A I do not know.                                              5 their location where they were before they were in the
 6 Q Okay. If you prevail in this lawsuit and win and are        6 Social Section?
 7 successful, what is your understanding of what will happen    7            MS. BROWNSTEIN: And I'm going to object
 8 to the Social Section?                                        8        again. It's a Complaint drafted by lawyers, she
 9 A I don't know what would happen. I don't know if they        9        is not an attorney.
10 would be allowed to leave it as is. What would I like to     10            Subject to that objection, she may answer.
11 see happen?                                                  11 A Yes, I believe by doing away with the availability
12 Q So I'll get there, but I was just curious if you           12 provision, that that would require it.
13 understood what would happen, if you had any understanding   13 Q Okay. So if the court enjoins Act 372's availability
14 at all.                                                      14 provision, it's your understanding that the Social Section
15 A I don't know that that's ever been stated. I don't         15 would be disbanded?
16 know.                                                        16            MS. BROWNSTEIN: Again, renew my objection.
17 Q Okay. If you prevail in this lawsuit, what would you       17 A That's my understanding.
18 like to see happen to the Social Section?                    18 Q Okay. You've never checked out a book from the
19 A I would like to see all of those books go back to the      19 Social Section, and I don't know if I've ever asked this
20 respective sections that they were in before.                20 earlier. Has your daughter ever checked out a book from
21 Q Okay. And is there any portion of your Complaint           21 the Social Section?
22 that asks for the Social Section books to be moved back?     22 A Not that I'm aware of.
23 A I do not know.                                             23 Q Have you ever been denied the ability to checkout a
24 Q You don't know. Have you read the Complaint?               24 book from the Crawford County Library System regardless of
25 A Yes.                                                       25 where it's located?


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 1 Q Okay. And are you aware if there's any portion that         1 A Yes.
 2 asks for the Social Section books to be placed back?          2 Q Okay. And when was that?
 3     And if you need to take time to review the Complaint,     3 A In 2020.
 4 you can take the time to do so.                               4 Q And why were you denied the ability to checkout the
 5 A Okay. Let me do that.                                       5 book?
 6 Q Yeah.                                                       6 A Because I owed money.
 7 A So you're asking if this Complaint specifically says        7 Q Was the money owed for late returns?
 8 Crawford County Social Section books must be returned?        8 A Yes.
 9 Q Flip to the first page of the Complaint, please.            9 Q Okay. I understand.
10 A Okay.                                                      10           MS. BROWNSTEIN: There's a reason she
11 Q Do you see your name stated in the caption?                11        doesn't use the libraries --
12 A Yes.                                                       12 A For the record, it was not my fault.
13 Q So your Complaint -- I'm asking does your Complaint,       13 Q The record is noted.
14 that you have in your hand that you're reviewing now, does   14     So you've been denied the ability to checkout a book
15 it ask for the Social Section books to be placed back to     15 due to unpaid late fee charges?
16 where they were before they were in the Social Section?      16 A Correct.
17 A Specifically Crawford County?                              17 Q With that reasoning aside, have you ever been denied
18 Q Yes.                                                       18 the ability to checkout a book for any other reason?
19 A Because I'm not aware of any other.                        19 A No.
20     I mean, am I --                                          20 Q Are you aware if your daughter has ever been denied
21 Q I'll repeat the question and I'll make the record          21 to checkout a book from the --
22 clear.                                                       22 A I am not aware.
23     So you've reviewed the Complaint?                        23 Q Do you know anybody who has been denied the ability
24 A Uh-huh.                                                    24 to checkout a book from the Crawford County Library System
25 Q Is that a yes?                                             25 for a reason other than late fees?


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 1 A No.                                                     1 Q Do you know if Samantha Rowlett serves on the
 2 Q Okay. Are you aware of any specific titles of books     2 leadership board of that group?
 3 in the Social Section?                                    3 A I believe she does.
 4 A Yes.                                                    4 Q Okay. Have you ever interacted with Ms. Rowlett in
 5 Q Okay. And what are the titles of those books?           5 relationship to this group?
 6 A Boy kisses boy, An Abundance of Katherines. Those       6 A I've never interacted with her at all.
 7 are the only two I can recall.                            7 Q So you found out about this lawsuit through the
 8 Q Have you ever read either of those two books?           8 American Advocates for Equality.
 9 A No.                                                     9    Do you serve in any type of leadership role with that
10 Q And how do you know that they are located in the       10 organization?
11 Social Section?                                          11 A No.
12 A I saw them in the Social Section when I went to the    12 Q Okay. Do you ever make posts on the Facebook page?
13 Van Buren Library.                                       13 A No, I think I've commented on one thing.
14 Q When you went two days ago?                            14 Q Okay. Do you remember what you commented on?
15 A Yes.                                                   15 A Yes.
16 Q Okay. Did you take either of these books off the       16 Q What was it?
17 shelves and thumb through them?                          17 A Somebody made fun of an outfit that Governor Huckabee
18 A Yes.                                                   18 wore and I told them that I thought that was tacky and
19 Q Okay. Do you have an understanding of what these       19 that we should not be attacking the way somebody looks.
20 books are about?                                         20           MR. MCLELLAND: We can go off the record
21 A The Abundance of Katherines I vaguely do because my    21        for a second.
22 daughter explained it to me.                             22             (Off the record.)
23 Q Okay. And what's it about?                             23 BY MR. MCLELLAND:
24 A Just a young couple in a relationship.                 24 Q So you made a comment related to a post someone had
25 Q Okay. And do you know what boy kisses boy is about?    25 made about the Governor's outfit and you had said that we


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 1 A No.                                                     1 shouldn't make comments about appearance and that was a
 2 Q Okay.                                                   2 low blow; is that right?
 3          MS. BROWNSTEIN: I think I could guess from       3 A Yes.
 4       the title.                                          4 Q Do you know what America Advocates for Equality, what
 5          MR. MCLELLAND: I won't ask anybody to            5 they're advocating for? I know what the name of the
 6       engage in speculation.                              6 organization is, but do you know what other specific thing
 7 BY MR. MCLELLAND:                                         7 that they're advocating for?
 8 Q When did you first become aware of this lawsuit?        8 A Equal rights for the LGBTQ community.
 9 A December of 2022. This lawsuit?                         9 Q Okay. Equal rights specifically to that community or
10 Q This lawsuit.                                          10 are there other communities that they're advocating rights
11 A I'm sorry, my brain was jumping forward trying to      11 for?
12 finish your sentence.                                    12 A I'm uncertain.
13 Q That's okay.                                           13 Q Okay. Do you know when the group was started?
14 A Last summer.                                           14 A I believe -- I don't know for certain. I believe
15 Q And how did you become aware?                          15 shortly after January of 2023.
16 A A Facebook group.                                      16 Q Okay. And do you know who started it?
17 Q What Facebook group?                                   17 A I don't know for certain.
18 A American Advocates for Equality.                       18 Q Okay. If you had to guess, do you know?
19 Q And when did you join that Facebook group?             19 A My guess is Samantha Rowlett.
20 A I don't know.                                          20 Q Okay. So you're not for sure, but if you had to
21 Q Do you have to be invited to join it?                  21 assume, you'd guess maybe Samantha?
22 A I don't know. I don't recall.                          22           MS. BROWNSTEIN: Don't guess.
23 Q Do you know how many members that are a part of the    23 BY MR. MCLELLAND:
24 group?                                                   24 Q And I think you said this earlier. You don't know
25 A I don't know.                                          25 how you -- or you didn't have to request to join that


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 1 group; is that right?                                         1 Q Okay. I don't want to know the contents of your
 2 A I don't know.                                               2 conversation, but I would like to know when you spoke to
 3 Q Okay. So you learned about this lawsuit through             3 Ms. Brownstein.
 4 American Advocates for Equality in the summer. Why didn't     4 A I would have to look back on my records.
 5 you join the lawsuit then?                                    5 Q Was it the fall, the spring?
 6 A Well, I didn't know that it could be helpful. If I          6 A Winter.
 7 had thought I could be helpful, I guess I would have          7 Q Okay. So maybe December or January?
 8 reached out, but it seemed like it was ...                    8 A Uh-huh.
 9 Q I understand. And I'm not trying to point fingers or        9 Q Okay. And so to be clear, December of '23, January
10 anything or say why didn't you do it then. I'm just          10 of '24; is that correct?
11 curious how you came to know -- or how you came to get       11 A Uh-huh.
12 involved, which is actually my next question.                12 Q Is that a yes?
13    So you found out about it in the summer. How did you      13 A Yes. I'm so sorry.
14 learn how to get involved?                                   14 Q You're fine.
15 A Mandy Steele is somebody that I share a lot of the         15 A Madeline is better at this than I am.
16 same belief system with and she -- we kind of know each      16 Q No, you're fine.
17 other casually as acquaintances through kind of being        17     Okay. And did you speak just to Ms. Brownstein?
18 around the same groups and we're both part of Free Mom       18 A No.
19 Hugs.                                                        19 Q Okay. Who else was involved in that conversation?
20 Q Okay.                                                      20 And I don't want to know the contents. I just want to
21 A And she reached out to me and said, you know, she had      21 know who else was there.
22 seen that I had seemed to have the same -- and I posted      22 A Mr. Adams. Well, not when I spoke with her.
23 about my daughter online and, you know, being proud of her   23 Q Okay. When did you speak with Mr. Adams?
24 for starting a gay-straight alliance at her school and she   24 A December.
25 said that it would be helpful if Madeline was interested     25 Q Okay. Was anybody else involved in that


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 1 in joining as a Plaintiff.                                    1 conversation?
 2 Q Okay. So you know Mandy Steele through Free Mom             2 A Madeline.
 3 Hugs?                                                         3 Q Okay. Anybody else?
 4 A Well, I knew her before that, but we know that we           4 A No.
 5 seem to have a lot of the same belief system and I'm not      5 Q Okay. Did you speak by phone or Teams or in person?
 6 close with her, but I would call her an acquaintance and      6 A By phone.
 7 she had said if that was something that Madeline would be     7 Q Okay.
 8 interested in, that she certainly could put her in touch      8 A And then in person.
 9 with people.                                                  9 Q Okay. So you spoke, in December of '23, with
10 Q So she reached out to you about your daughter getting      10 Mr. Adams and then at some point thereafter you then spoke
11 involved?                                                    11 with Ms. Brownstein?
12 A Correct.                                                   12 A Pretty quickly after. I think maybe even the same
13 Q And did Mandy ever speak with your daughter directly?      13 day or the next day.
14 A No.                                                        14 Q Is that kind of the whole story of how you ended up
15 Q Okay. Did you speak to your daughter about joining         15 in this lawsuit?
16 the lawsuit after Mandy reached out to you?                  16 A Uh-huh.
17 A I told her that the lawsuit existed, which she             17 Q Yes?
18 already knew, and that, you know, there was a chance that    18 A Yes. So sorry.
19 if she wanted to be a of it, that she could be.              19 Q You're okay. All right. Have you attended any of
20 Q So Mandy tells you about how to get connected in the       20 the Crawford County Quorum Court Meetings?
21 lawsuit. Do you know what happens next? Like did you         21 A No.
22 talk -- and I'm not trying to breach any type of             22 Q And you've never attended any of the library board
23 privilege, but did you then speak to Ms. Brownstein or any   23 meetings?
24 of the other attorneys?                                      24 A Correct.
25 A Yes.                                                       25 Q You've just seen the library board meetings after the


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 1 fact?                                                         1 statute uses. I know we're talking about books mostly.
 2 A And the quorum court meetings.                              2 Items actually covers a little bit more than that, so I
 3 Q And the quorum court meetings. You knew where I was         3 might use one or the other.
 4 going. So you've seen the quorum court meetings kind of       4     So what is your understanding about what types of
 5 after the fact as well?                                       5 books or items are covered under Section 1?
 6 A Correct.                                                    6 A That they would harm -- be harmful to minors. I
 7 Q Are they recordings or are they snipits of video            7 don't really know what that definition of be harmful
 8 recordings?                                                   8 entails specifically.
 9 A Both, people that were in the room.                         9 Q And that's totally fair. It's sort of a technical,
10 Q Recorded it and then maybe posted it?                      10 legal definition, so I certainly don't expect you to
11 A Uh-huh.                                                    11 understand the ins and outs of it.
12 Q Is that a yes?                                             12     And I read this one section to your daughter and I'll
13 A Yes.                                                       13 read it to you, also, because my next question is I'm
14 Q When you see those posts, are those primarily in this      14 going to ask you is there any books or items that you are
15 American Advocates for Equality group?                       15 aware of that fall under the definition, and, again, with
16 A I don't know.                                              16 the caveat that I know you're not a lawyer and you haven't
17 Q All right. Have you ever heard, in the community or        17 spent the time that, you know, the lawyers and judges have
18 conversations with people, that the Social Section was a,    18 spent on this.
19 quote, "kind of compromise between people who maybe sought   19     So the statute defines item as a material or a
20 to have books removed and people who didn't want to have     20 performance that depicts or describes nudity, sexual
21 books removed"? Have you ever heard anyone say that          21 conduct, sexual excitement, or sadomasochistic abuse, and
22 before?                                                      22 also as part of the harmful minor's definition, those
23 A No.                                                        23 traits have to be the predominant trait of the work.
24            MR. MCLELLAND: Okay. I think I'll pass.           24     So are there any books or items, that you are aware
25            MR. WATSON: Do you want to take a break or        25 of, that you would like to read or plan on reading that


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 1        keep going?                                            1 fit that definition as you understand it?
 2           THE WITNESS: Break.                                 2            MS. BROWNSTEIN: I object, again, that
 3          (Brief recess was taken.)                            3         that's -- she's not an attorney and with that
 4               EXAMINATION                                     4         objection she cannot possibly understand what
 5 BY MR. WATSON:                                                5         that -- well, she could opine about what legally
 6 Q Mrs. Partain, I'm Noah Watson. I'm with the Attorney        6         would be considered harmful to minors are not
 7 General's Office and we're representing the prosecuting       7         under that definition. With that objection, you
 8 attorneys in this case.                                       8         may answer.
 9    First of all, thank you for being here today. I            9 A Can you ask it again?
10 appreciate your time. I know that is a labor-intensive       10 Q Let me take a step back to try and address some of
11 thing to be a part of a lawsuit and it's not your normal     11 this. Do you understand what nudity is?
12 job, so you have to find extra time to do it, so, again,     12 A Yes.
13 thanks for being here and answering some of our questions.   13 Q Do you understand what sexual conduct is?
14    So the Act that has been challenged, there are two        14 A Yes.
15 parts. There's the criminal provision, which I'll call       15 Q Do you understand what sexual excitement is?
16 Section 1, and there's what we call the Challenge            16 A Yes.
17 Provision, which is Section 5. I might use one of those      17 Q And do you understand what sadomasochistic abuse is?
18 terms. If at any point I use one or the other and you        18 A Yes.
19 forget, just say, hey, please explain what you're talking    19 Q Okay. So of those topics, are you aware of any book
20 about. I'm happy to do that. And if you have any             20 or materials you want to read or view that is
21 questions, feel free to interrupt me. I want to make sure    21 predominantly about one of those topics?
22 we're on the same page.                                      22 A No.
23    So I want to start off with the Criminal Provision,       23 Q Okay. So I want to move on to follow up on some of
24 Section 1. It should be fairly straightforward. What is      24 the stuff that Mr. McLelland was asking you about Section
25 your understanding of what -- items is the word the          25 5 and the library piece of this.


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 1    What is your understanding of how Section 5 works?         1        calls for speculation.
 2 A The challenge section?                                      2           MR. MCLELLAND: I'm also going to object to
 3 Q Yes, ma'am.                                                 3        the form.
 4 A That anybody would be able to challenge for a book to       4 BY MR. WATSON:
 5 be put into the sequestered area.                             5 Q So in how you think you would perceive it, how it
 6 Q And what is your understanding of the sequestered           6 would affect you, do you see a potential difference
 7 area and how would that operate?                              7 between the current Social Section and the -- what would
 8 A That whoever the deciding body is would decide if a         8 be implemented?
 9 book met the definition of harmful to minors, and those       9    The sequestered section, I think, is the word you
10 books would be put into an area that could not be accessed   10 used under Section 5 of the challenge --
11 by anybody under the age of 18.                              11           MS. BROWNSTEIN: I'm going to, again,
12 Q Okay. So you would still be able to access it, for         12        object. It calls for speculation.
13 example, and other adults?                                   13           MR. MCLELLAND: Object to form.
14 A Correct.                                                   14           MS. BROWNSTEIN: You may answer. Sorry.
15 Q Okay. Are you aware of any books that you would be         15 A I -- with the attention that the current Social
16 unable to access because of the challenge provision?         16 Section has received, I don't think that the reaction from
17 A No. Me personally, no.                                     17 people would be different than it is now. I think it has
18 Q Okay. So in your own words, how does Section 5, the        18 already created the situation that I described.
19 challenge provision, how does that affect you if you're      19 Q So at the end of your answer to that question in
20 able to access any of the books or materials that you        20 explaining this to me, you started talking about how other
21 would want to anyways?                                       21 people may also feel -- well, never mind. Just forget I
22 A Well, my children are an extension of me and if they       22 said anything there.
23 don't have access to it, then it affects my home, my         23    Other than the stigma, is there any other way that
24 household, and, also, I think that there would be a stigma   24 this Section 5, the challenge provision, would affect you.
25 for anybody going into these special areas, whatever it      25 And, also, just setting aside your children, just


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 1 was named, because I think people would be paying             1 specifically you?
 2 attention.                                                    2 A Me personally?
 3 Q Okay. And explain that stigma to me a little more.          3 Q Yes.
 4 A I think if you take this collection of books and put        4 A Not that comes to mind immediately.
 5 it in a separate area that you have to be 18 and over and     5 Q I think that's all that I've got for now. Thank you
 6 everybody understands what that area is, that they're         6 again.
 7 going to be paying attention to who's going in it. They       7               EXAMINATION
 8 may assume things about those people, whether they're         8 BY MS. BROWNSTEIN:
 9 correct or not, that it could make the people feel            9 Q I have a few questions. So do you have
10 uncomfortable, that it could make people, whether they are   10 grandchildren?
11 old enough to go in it or not, feel like if there's          11 A Yes.
12 something in that room that interests you or that you        12 Q What are their ages?
13 relate to or the characters look like you, that somehow      13 A Ten, seven. I'm sorry, just turned eight last month,
14 you're bad, you're wrong, you're not normal like the rest    14 and then two newborns.
15 of us that aren't going in that room.                        15 Q Well, do you take the ones that are not newborns to
16 Q And I don't recall if Mr. McLelland asked you about        16 the library?
17 the current Social Section, but I do remember your           17 A Yes.
18 daughter mentioned some of the similar terms about it        18 Q And if Act 372 passed and went into effect. Excuse
19 being uncomfortable to be seen in there.                     19 me, it passed. If it went into effect and you wanted to
20     Do you have a -- does the same stigma apply to the       20 take your children to the library and there was this
21 current Social Section?                                      21 sequestered area, do you know if you would be able to
22 A Yes.                                                       22 take -- go into that area with your grandchildren that are
23 Q So there's no difference between what it is now and        23 under the age of ten?
24 what could exist?                                            24 A Not -- not with them.
25           MS. BROWNSTEIN: I'm going to object. It            25 Q Okay. So would you able to go in it if you had them


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 1 with you and you didn't want to leave them behind in          1 Q Challenges under Section 5 of Act 372?
 2 another section of the library?                               2 A Yes.
 3 A No.                                                         3 Q Okay. And what do you think the challenges would be
 4 Q Would you be able to go in?                                 4 based on generally, what point of view?
 5 A No.                                                         5 A People thinking that depicting homosexual
 6 Q So would you -- you would not be able to go in and          6 relationships or family styles is not normal, or that it's
 7 browse for books for them if they were with you if Act 372    7 harmful to children to see that kind of thing.
 8 went into effect?                                             8 Q The way that Section 5 of Act 372 is written at
 9 A Correct.                                                    9 present, and if it goes into effect, there will be
10 Q Okay. Do you know who appointed Tammi Hamby to the         10 challenges allowed by members of the public. But there is
11 Library Board?                                               11 no provision for people, once a book is challenged and
12 A Judge Keith.                                               12 objected to, there is no provision for members of the
13 Q The County Judge?                                          13 public to oppose that point of view that might want to
14 A Correct.                                                   14 keep a book as a part of the general book population and
15 Q Okay. And you have, as I understand it, watched            15 not put into a segregated section.
16 videos of both quorum court and library board meetings; is   16    Do you understand what I'm saying?
17 that right?                                                  17 A Yes.
18 A Correct.                                                   18 Q And would you, as a library card member, even though
19 Q After the fact, after they occurred?                       19 you might owe money --
20 A Correct.                                                   20 A That is settled.
21 Q Did that include videos where you heard Judge Keith        21 Q As a library card member and a user, would you want
22 speaking?                                                    22 to be able to have input into whether or not a book should
23 A I'm not certain.                                           23 be successfully challenged and put into the segregated
24 Q Okay. How about other quorum court board members?          24 adults-only section?
25 A Yes.                                                       25 A Absolutely, I would want a say.


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 1 Q And what was -- was there a particular attitude             1 Q And so would you consider that a problem with the Act
 2 expressed by quorum court members about what books should     2 as written, that it does not provide further opportunity
 3 be included in the Social Section or not?                     3 for citizens, such as you, to oppose books being
 4 A I didn't hear their specific opinions, but I do know        4 segregated?
 5 that they were not letting people who were opposed to the     5 A Yes, that's a problem.
 6 Social Section speak.                                         6           MS. BROWNSTEIN: Okay. That's all I have.
 7 Q Do you have any opinion as to what the attitude of          7        Pass the witness.
 8 the majority of the quorum court would be if Act 372 went     8               EXAMINATION
 9 into effect, as to what types of books would be put into      9 BY MR. ADAMS:
10 the sequestered sections?                                    10 Q I want to follow up on one thing that Mr. Watson was
11           MR. MCLELLAND: Objection. Calls for                11 asking you about with respect to this definition of
12        opinion and speculation.                              12 harmful to minors.
13 BY MS. BROWNSTEIN:                                           13     And, again, this is sort of personal, but I'm not
14 Q You may answer.                                            14 going to get into the individual books. Have you, as an
15 A I think that the majority of the books would be LGBTQ      15 adult, read a book, read a novel, let's say -- let's kind
16 themed and would look a lot like the current Social          16 of narrow it down that way. Read a novel that included a
17 Section.                                                     17 description of sexual activity?
18 Q Okay. And that's based on what you saw and heard           18 A Yes.
19 that occurred in the quorum court meetings --                19 Q Are any of those novels books that you would not give
20 A Correct.                                                   20 to a nine-year-old because the sexual content is
21 Q Based on what you have seen and heard at both quorum       21 inappropriate for them?
22 court meetings and library board meetings, do you have an    22 A All of them.
23 opinion as to whether there would be challenges to books     23 Q Okay. And more generally, would you expect that the
24 based on their LGBTQ content?                                24 local community standards in this area would find that
25 A Challenges?                                                25 materials in some of the novels that you've read to be


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 1 unacceptable for nine-years-olds?                              1 Q Okay. If your ten-year-old or eight-year-old
 2 A Yes.                                                         2 grandchild wanted to go to the Social Section to pick out
 3 Q Are some of those same books, in your view, okay for         3 a book, could you go with them?
 4 Madeline as a 17-year-old to read?                             4 A Yes.
 5 A Yes.                                                         5 Q Has your ten-year-old or eight-year-old grandchild
 6 Q So you can imagine a situation, based on a book that         6 ever been to the Social Section?
 7 you've read, that you would think would be inappropriate       7 A Not with me, no.
 8 to hand to a nine-year-old, maybe a grandkid of yours, but     8 Q Okay. But if they wanted to go, or you wanted to go,
 9 that you would buy and give to Madeline if it had              9 you could go together?
10 sufficient literary merit?                                    10 A To the Social Section, yes.
11 A Yes.                                                        11 Q To the Social Section. Thank you.
12           MR. ADAMS: That's all I have.                       12     You talked about, with Ms. Brownstein, there were
13            FURTHER EXAMINATION                                13 some quorum court meeting videos and library board meeting
14 BY MR. MCLELLAND:                                             14 videos. Do you remember discussing that with her?
15 Q Ms. Partain, this is the part I think I told your           15 A Yes.
16 daughter, where we kind of go round-robin and eventually      16 Q Those videos that you've seen of the meetings, let's
17 we will run out of questions.                                 17 talk about the quorum court first. Did you watch the
18    I just have some follow up from your conversation          18 entirety of the meeting?
19 with your attorney. You have two grandchildren, correct?      19 A No.
20 A Four.                                                       20 Q Was it like one long video that you skipped around or
21 Q Sorry, you have four grandchildren, one of which is         21 was it multiple video clips?
22 ten years old and eight years old and then two are            22 A Multiple video clips.
23 newborns?                                                     23 Q Okay. For the library board, did you watch the
24 A Correct.                                                    24 entire library board meeting and skip around or were they
25 Q Okay. And do you currently take the ten and                 25 library board meeting clips?


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 1 eight-year-old to the Crawford County Library?                 1 A Well, the person was live streaming it, so I watched
 2 A On occasion.                                                 2 the majority of it. I don't know that I got the entire
 3 Q How often?                                                   3 beginning and the entire end.
 4 A More so in the summer when I'm babysitting them.             4 Q And do you remember which library board meeting was
 5 Q Gotcha. Do you know if their parent takes them to            5 streamed?
 6 the library?                                                   6 A No.
 7 A I don't know, but they live in Oklahoma.                     7 Q Do you remember which quorum court meeting the video
 8 Q When you take your ten-year-old and eight-year-old           8 clips were from?
 9 grandchild to the Crawford County Library, do you take         9 A No.
10 them primarily to the Van Buren Branch?                       10 Q Do you know if they were all from the same quorum
11 A Yes.                                                        11 court meeting?
12 Q And what's a typical visit like?                            12 A Well, I've seen parts of multiple meetings on a day
13 A We usually try to do it when they're having                 13 that it was happening, like almost in real time because
14 activities for kids and we visit the children's area and      14 somebody was there.
15 we look at books, maybe they do puzzles. It just depends.     15 Q So you were watching these video clips in kind of
16 A lot of it is because they're having -- they're hosting      16 real time?
17 things for kids.                                              17 A Almost real time, the same evening.
18 Q If your grandchildren were with you and you wanted to       18 Q Okay. So the clips that you watched appeared to be
19 go to the Social Section to pick out a book, could you        19 from all of the same quorum court meeting?
20 take your grandchildren with you?                             20 A No.
21 A No.                                                         21 Q Okay. They were from different meetings?
22 Q Why not?                                                    22 A Yes.
23 A Oh, the Social Section?                                     23 Q Do you know which quorum court meeting the videos
24 Q Yes.                                                        24 displayed?
25 A Yes.                                                        25 A I do not.


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 1 Q Okay. You said that at one of the meetings the              1 A Yes.
 2 quorum court didn't let the opposition, that those opposed    2 Q Do you remember who said that the library was at risk
 3 to the Social Section speak.                                  3 of being defunded?
 4     Do you remember saying that?                              4 A No.
 5 A Yes.                                                        5 Q Are you aware of how the Crawford County Library gets
 6 Q Do you remember which meeting that was?                     6 its funding?
 7 A No.                                                         7 A Vaguely.
 8 Q But you know that it occurred?                              8 Q Okay. What's your understanding?
 9 A Yes, I watched it.                                          9 A That it's all part of the budgetary process for the
10 Q Did you recognize any of the people who were opposing      10 county and it comes from taxes.
11 the Social Section that weren't allowed to speak?            11 Q Okay. Are you aware if the Crawford County Quorum
12 A No. They were allowed to choose one representative         12 Court has ever withheld funding from the library?
13 to speak for the group.                                      13 A I'm not aware.
14 Q And that person wasn't allowed to -- the                   14            MR. ADAMS: To my understanding it's pretty
15 representative of the opposition was not allowed to speak;   15        broad, relevant standards, but I don't think the
16 is that correct?                                             16        funding has come up in this litigation. Has it?
17 A One person was allowed to speak.                           17            MR. MCLELLAND: Well, it came up during her
18 Q Oh, one person was allowed to speak?                       18        testimony with Bettina, which is why I was
19 A Uh-huh.                                                    19        following up on it, but I don't have much more
20 Q The rest were not?                                         20        on it. I don't think I have another question on
21 A Correct.                                                   21        it at all, actually.
22 Q Okay. People in favor of the Social Section, were          22 BY MR. MCLELLAND:
23 they allowed only one representative to speak?               23 Q Okay. So that's on the quorum court. On the library
24 A I don't remember anybody in favor being there.             24 board, you saw a live stream of it; is that right?
25 Q Okay. That's not what occurred?                            25 A Correct.


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 1 A I don't know. I didn't see that. That may have              1 Q And you don't recall which meeting that was?
 2 occurred. I don't know. I don't remember hearing about        2 A No. It was early 2023 and it may have been a special
 3 anybody from the side that was for the Social Section         3 meeting, but I'm not positive.
 4 being there to express their opinion.                         4 Q Do you remember any specific topics that were
 5 Q Okay. That could have happened, but you don't know          5 discussed during that meeting?
 6 because the meeting was broken up into video clips; is        6 A The Social Section.
 7 that right?                                                   7 Q Okay. And do you remember what was said about it or
 8 A Yeah. And there were quorum court members speaking          8 what was happening in relation to the Social Section?
 9 who were for the Social Section.                              9 A They just had many community members lined up to give
10 Q Do you remember which specific members were for the        10 their opinion.
11 Social Section?                                              11 Q About what?
12 A No.                                                        12 A The creation of a Social Section.
13 Q Okay. How did you know that they were quorum court         13 Q Okay. Was it opinion about a Social Section in
14 members?                                                     14 general, or was it about books in the Social Section?
15 A Because they were behind the bar.                          15 A Specific books in the Social Section.
16 Q Okay. Do you remember, in the quorum court meetings        16 Q Were people speaking to have books placed into the
17 that you saw the video clips from, was it ever               17 Social Section or taken out of the Social Section?
18 discussed -- was the library system's funding ever           18 A Both.
19 discussed?                                                   19 Q Okay. Did the board take any type of vote in
20 A Yes. I don't know the details.                             20 relation to books being housed in or outside of the social
21 Q Okay. Do you remember anything that was said about         21 section?
22 the library board funding, aside from the term funding or    22 A I don't recall.
23 library?                                                     23 Q Okay. Do you remember discussing, with Mr. Adams,
24 A It was at risk of being lost.                              24 things in relation to the topic of harmful to minors and
25 Q At risk of being defunded? Is that a way to put it?        25 local community standards?


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 1 A Yes.                                                         1 pull it back into general circulation, right, like that
 2 Q And there's kind of a delineation between a                  2 would not be an issue any more?
 3 nine-year-old and a seventeen-year-old receiving certain       3            MS. BROWNSTEIN: I'm going to object. It's
 4 material. Do you remember discussing that?                     4         a confusing question.
 5 A Yes.                                                         5 A I think there's a glaring issue with the fact that
 6 Q Can a nine-year-old go to the Social Section in the          6 there's not like a counter -- that you can't counter
 7 Crawford County Library System?                                7 challenge a challenge.
 8 A They can.                                                    8 Q Right.
 9 Q Can a seventeen-year-old go to the Social Section in         9 A That aside, I don't like it anyway. I would still
10 the Crawford County Library System?                           10 have an issue. The whole process doesn't belong, in my
11 A They can.                                                   11 opinion.
12            MR. MCLELLAND: Okay. That's all I have.            12 Q And that's the designation I was trying to make and
13            FURTHER EXAMINATION                                13 was not doing well, so thank you for highlighting that.
14 BY MR. WATSON:                                                14    If a library chose to do, that would kind of remedy
15 Q All right. I think I have three buckets of                  15 the issue, right, that it chose to allow someone to
16 questions. I think it's only going to be three questions,     16 challenge in the opposite direction?
17 maybe four.                                                   17 A No. For me it would not remedy the issue.
18     With your grandchildren, are you able to go to the        18 Q Not the whole issue, not the sequestering of some
19 library without your grandchildren?                           19 books.
20 A Yes.                                                        20 A Is that one tiny step better? Maybe.
21 Q Okay. Earlier you were discussing the fact that the         21 Q Okay.
22 challenge provision -- that concerning the challenge          22 A Do I think that it should exist at all? No.
23 provision, it does not include a requirement that             23 Q Fair enough. I'll move on from that.
24 libraries allow people who want to keep a book in general     24    And then the last question I wanted to ask you is
25 circulation to raise that issue.                              25 Mr. Adams asked about some books that you previously read


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 1 A Correct.                                                     1 and whether or not they included, you know, some depiction
 2 Q At the same time the challenge does not -- it allows         2 of --
 3 libraries to have something like that. So if a library         3 A Salacious material?
 4 included a provision that allowed someone who wanted to        4 Q Salacious material, yes.
 5 keep a book in circulation, you wouldn't have an issue         5     Have any of those previous books you've read included
 6 with that application of the policy?                           6 this salacious material as the predominant topic?
 7 A I would still have an issue.                                 7 A No.
 8 Q What would your issue be?                                    8            MR. WATSON: All right. That's all I've
 9 A I don't -- rephrase the question. I'm not sure I             9        got.
10 understand it completely.                                     10            MS. BROWNSTEIN: I don't have anything
11 Q Sure. So specifically about the issue with people           11        further.
12 want to keep the item in general circulation and the fact     12            FURTHER EXAMINATION
13 that they might not be able to raise that objection, if a     13 BY MR. ADAMS:
14 library allowed them to raise that objection, that            14 Q This is going to get really technical and it's on a
15 wouldn't be an issue any more for you?                        15 point that Noah just asked.
16     I guess I'm asking would that still be an issue --        16     Say that a ten-year-old did read that novel that
17 A Yes. Yes.                                                   17 included a depiction of sexuality, might that be the main
18 Q And why would that be an issue?                             18 thing that a ten-year-old remembered from a book that
19 A Because I don't think that any of the books, LGBTQ or       19 included a description of sexual activity, as opposed
20 anything, should be in their own special area. I don't        20 to --
21 think there should be a special section created for any of    21            MS. BROWNSTEIN: You're my co-counsel, but
22 them.                                                         22        I feel like --
23 Q So I'm going to try and make sure we're on the same         23            MR. MCLELLAND: Yeah, I will object to the
24 page. So the concern would be with all the other stuff,       24        form.
25 not with the specific fact that someone could like try and    25            MR. ADAMS: Okay. I think we're going to


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 1         end up parsing the definition of harmful to
 2         minors a little fine, but I will withdraw the
 3         question.
 4             MR. MCLELLAND: I just have one follow-up.
 5             I didn't cut you off?
 6             MR. ADAMS: No, go ahead.
 7             MR. MCLELLAND: Okay.
 8              FURTHER EXAMINATION
 9 BY MR. MCLELLAND:
10 Q So you remember talking to Mr. Watson about the
11 challenge and counter challenge and the counter counter
12 challenge and the reverse counter challenge just a little
13 bit ago?
14 A Yes.
15 Q Are you aware of what the Crawford County Library
16 System's current book challenge policy is?
17 A No.
18 Q Okay. So you're not aware how a book is challenged
19 at all in the Crawford County Library System?
20 A No.
21 Q Okay. That's all I have.
22             MR. ADAMS: That's it.
23          (WHEREUPON, at 12:05 p.m., the
24           above deposition concluded.)
25

                                                        Page 70
 1                    C E R T I F I C A T E
 2
     STATE OF ARKANSAS }
 3                     }
     COUNTY OF FAULKNER}
 4
     RE:   ORAL DEPOSITION OF MIEL ANN DELOREY PARTAIN
 5
     I, Michelle R. Satterfield, CCR, a Notary Public in and
 6   for Faulkner County, Arkansas, do hereby certify that the
     transcript of the foregoing deposition accurately reflects
 7   the testimony given; and that the foregoing was
     transcribed by me, or under my supervision, on my Eclipse
 8   computerized transcription system from my machine
     shorthand notes taken at the time and place set out on the
 9   caption hereto, the witness having been duly cautioned and
     sworn, or affirmed, to tell the truth, the whole truth and
10   nothing but the truth.
     I FURTHER CERTIFY that I am neither counsel for, related
11   to, nor employed by any of the parties to the action in
     which this proceeding was taken; and, further that I am
12   not a relative or employee of any attorney or counsel
     employed by the parties hereto, nor financially
13   interested, or otherwise, in the outcome of this action.
     In accordance with the Arkansas Rules of Civil Procedure,
14   Rule 30(e), review of the foregoing transcript by the
     witness was not requested by the deponent or any party
15   thereto.
     GIVEN UNDER MY HAND AND SEAL OF OFFICE on this the 25th
16   day of March 2024.
17
18
19
20
                              _________________________________
21                              Michelle R. Satterfield, CCR
                                LS Certificate No. 570
22                              Notary Public in and for
                                Faulkner County, Arkansas
23
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25


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                         adults-only (1)               26:2                       35:11,13                 16:8
            A               55:24                   anyways (1)                 average (1)              blow (1)
                         Advocates (5)                 49:21                      21:21                    40:2
ability (5)                 38:18;39:8;40:4;        appearance (1)              aware (27)               Board (30)
  35:23;36:4,14,18,23       41:4;45:15                 40:1                       12:19,22;13:14,15;       13:8,24;16:6,24;
able (13)                advocating (3)             appeared (1)                  15:20;16:23;17:2;        17:18;24:19,20;28:16;
  9:20;14:6,14;49:4,        40:5,7,10                  60:18                      18:7;19:16;25:20;        29:11,17,20;30:8,17;
  12,20;52:21,25;53:4,6; affect  (3)                application (1)               34:1,19;35:22;36:20,     31:8;32:14;39:2;
  55:22;65:18;66:13         49:19;51:6,24              66:6                       22;37:2;38:8,15;47:15,   44:22,25;53:11,16,24;
abnormal (1)             affects (1)                apply (1)                     24;48:19;49:15;63:5,     54:22;59:13,23,24,25;
  24:13                     49:23                      50:20                      11,13;69:15,18           60:4;62:22;63:24;
above (1)                affirmed (1)               appointed (4)               away (1)                   64:19
  69:24                     6:3                        24:19;28:15;29:20;         35:11                  body (1)
Absolutely (1)           afterwards     (1)            53:10                                               49:8
  55:25                     16:14                   appointing (2)                          B            book (29)
Abundance (2)            again (14)                    29:10,16                                            13:22;18:19,25;
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